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                          IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: Denise M. Campbell
                                                              CHAPTER 13
                                     Debtor
                                                              NO. 21-21338 CMB
  Denise M. Campbell
                                     Movant                   Hearing Date: 12/15/21 at 1:30 p.m.
                  vs.
                                                              Related to Doc. No. 51
  Specialized Loan Servicing, Inc.
  Ronda J. Winnecour, Trustee

                                     Respondent
                                                              .

               RESPONDENT, SPECIALIZED LOAN SERVICING, INC., RESPONSE TO
                    MOVANT’S MOTION TO COMPEL AND FOR SANCTIONS

       AND NOW, comes the Respondent, Specialized Loan Servicing, Inc. (hereinafter “SLS”), by

and through its attorney, Maria D. Miksich, Esquire, and KML Law Group, P.C., and respectfully

answers as follows:

   1. Admitted in part. By further response, the bankruptcy was filed on June 4, 2021.

   2. Admitted.

   3. Admitted in part. By further response, a Loss Mitigation Order was entered on September 2,

       2021.

   4. Admitted.

   5. The averments in this paragraph refer to a document or documents which speak for themselves

       and to which no response is required. To the extent that a response may be deemed necessary,

       the Defendant specifically denies the same. By further response, SLS mailed the Debtor a letter

       explaining the mortgage relief options and results of each option.
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   6. The averments in this paragraph refer to a document or documents which speak for themselves

      and to which no response is required. To the extent that a response may be deemed necessary,

      the Defendant specifically denies the same.

   7. Admitted.

   8. Admitted.

   9. The averments in this paragraph refer to a document or documents which speak for themselves

      and to which no response is required. To the extent that a response may be deemed necessary,

      the Defendant specifically denies the same.

   10. Denied. By further response, in accordance with investor guidelines, the interest rate is not

      adjusted in situations where there is a significant amount of equity in the property.

   11. Denied. By further response, in accordance with investor guidelines, the interest rate is not

      adjusted in situations where there is a significant amount of equity in the property.

   12. Denied.

   13. Denied.

   14. Denied.

   WHEREFORE, Respondent prays that Debtor’s Motion to Compel and for Sanctions be denied.



Dated: November 24, 2021                    /s/ Maria D. Miksich, Esquire
                                            Maria D. Miksich, Esquire
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